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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )                  8:07CR259
       vs.                                    )
                                              )                    ORDER
RANDALL PARKER,                               )
                                              )
                      Defendant.              )


       This matter is before the court on the defendant's motion to continue trial [65]. The
court's calendar can accommodate an extension to November 20, 2007. Upon the
representation that the government does not object, the court finds that the motion should
be granted.

       IT IS ORDERED that the motion [65] is granted, as follows:

       1.    The trial of this matter is continued to November 20, 2007.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between November 6, 2007 and November 20, 2007, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason that counsel require additional time to adequately prepare
the case, taking into consideration due diligence of counsel and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

      3. Defendant shall file an affidavit or declaration regarding speedy trial in
accordance with NECrimR 12.1 and/or 12.3 no later than November 6, 2007.

       DATED October 31, 2007.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
